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FILED -GR
UNITED STATES DISTRICT COURT May 5, 2023 1:40 PM
WESTERN DISTRICT OF MICHIGAN US biee eee
Ss. RICT COURT
SOUTHERN DIVISION WESTERN DISTRICT OF MICHIGAN

BY: KB SCANNED BY: Jl /5-S

UNITED STATES OF AMERICA,

. 1:23-cr-51
Plaintiff, Jane M. Beckering
U.S. District Judge
VS.
CHRISTODOULOS SANTAFIANOS, CLASS A MISDEMEANOR

INFORMATION
Defendant.
/

 

The United States Attorney charges:
(Theft of Government Record)

On or about July 9, 2021, in the Southern Division of the Western District of Michigan,

defendant,
CHRISTODOULOS SANTAFIANOS,

knowingly embezzled and converted to his use and the use of another, and without authority
knowingly conveyed and disposed of a record and thing of value of the United States, namely a
United States Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF) notice of a thirty-day detail for Industry Operations Investigators to the Boston Field

Division, the value of such record not exceeding the sum of $1,000, which had come into his
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care and possession by virtue of his employment as an Industry Operations Investigator with
ATF.

18 U.S.C. § 641

 

 

Date: May 5, 2023

“RONALD M. STELLA
Assistant United States Attorney
